Case: 1:02-cv-06425 Document #: 38 Filed: 08/19/03 Page 1 of 2 PagelD #:358

Minute Order Form (06/97)

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United States District Court, Northern District of Illinois

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

signed Judge Sitting Judge if Other
gistrate Judge James F. Holderman than Assigned Judge
) ea NUMBER 02 C 6425 DATE 8/19/2003
CASE EAGAN vs. VILLAGE OF WESTMONT et al
TITLE
[In the following box (a) indicate the party filing the motion, e.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the nature
fth i i dd.
MOTION: of the motion being presented,]
DOCKET ENTRY:
(t) QO Filed motion of [ use iisting in “Motion” box above.)
(2) O Brief in support of motion due
(3) L Answer brief to motion due . Reply to answer brief due
(4) 4 Ruling/Hearing on set for at
(5) 0 Status hearingjheid/continued to] [set for/re-set for} on set for at
{6) O Pretrial conference[held/continued to} [set for/re-set for] on set for at
(7) oO Trial[set for/re-set for] on at
(8) 0 (Bench/Jury trial] [Hearing] held/continued to at
(9) O This case is dismissed (with/without] prejudice and without costs[by/agreement/pursuant to]
OOFRCP4(m) OLocal Rule 41.1 OFRCP41(a)(1) DJ FRCP41(a)(2).
do) [Other docket entry] | Defendants’ motion for summary judgment is granted. This action is
dismissed in its entirety.

(ll) [For further detail see order on the reverse side of the original minute order.]

Ne notices required, advised tn open court.

No notices required. number of notices
/ | Notices mailed by judge's staff. "AUG 29 zu

Notified counsel by telephone. date docketed

Docketing to mail notices. , {}

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02 C 6425
On September 10, 2002, plaintiff Jason Eagan (“Eagan”) filed a one-count § 1983 claim against defendants Village of
Westmont (“Village”), Westmont Chief of Police Randall E. Sticha (“Sticha”) in his individual capacity, and members ofthe Board
of Fire and Police Commissioners (“Board”), Robert T. Maciejewski, Sr., Robert J. Kovanda, and Robert Scott in their individual
capacities alleging Equal Protection violations. On June 16, 2003, defendants filed a motion for summary judgment pursuant to
Fed. R.Civ.P. 56. For the following reasons, defendants’ motion is granted.

In his complaint, Eagan proceeds under the “class of one” Equal Protection theory recognized by the Supreme Court in
Village of Willowbrook v. Olech, 528 U.S. 562 (2000). Under this theory, Eagan must establish that he has been “intentionally
treated differently from others similarly situated and that there is no rational basis for the difference in treatment.” Id. at 564. To
make outa prima facie case, Eagan must present evidence that defendants “deliberately sought to deprive him of the equal protection
of the laws for reasons of a personal nature unrelated to the duties of the defendant’s position.” Purze y. Village of Winthrop
Harbor, 286 F.3d 452, 455 (7th Cir. 2002), Furthermore, in order to succeed, Eagan must demonstrate that he was “treated
differently than someone who is prima facie identical in all relevant respects, ... and that the cause of the differential treatment is
a totally illegitimate animus” toward Eagan. Albiero v. City of Kankakee, 246 F.3d 927, 932 (7th Cir. 2001). Ifthe defendants
“would have taken the complained-of action anyway, even if [they] didn’t have the animus, the animus would not condemn the
action.” Id. “Til will must be the sole cause of the complained-of action” and “[a] showing of uneven law enforcement standing
alone, will not suffice.” Id. Upon careful review of the record, this court finds that Eagan has failed to show a genuine issue for
trial, and based upon the undisputed facts, defendants are entitled to judgment as a matter of law on all claims.

With respect to Eagan’s claims against Sticha and the Village, this court finds that Eagan has failed to establish that Chief
Sticha treated Eagan differently than someone who is prima facie identical to him in all relevant respects. During the time Eagan
was employed as a probationary officer, other than Eagan’s reviews, all of the final reviews regarding other probationary officers
prepared at the request of Chief Sticha by the sergeants and senior officers were positive and favorable. Eagan was the only
probationary officer employed between December 2000 and June 2002 who had negative final reviews from the supervising
sergeants and senior officers. There is simply no evidence of other similarly situated probationary officers treated differently by
Sticha. Even if there was such evidence in the record, Eagan has wholly failed to establish that Sticha did not have any rational
basis for the difference in treatment. There is evidence that Sticha was concerned with Eagan’s possible dishonesty involving a
certain workers’ compensation claim Eagan filed in May 2002. Further, the opinion letters prepared for Sticha by sergeants and
senior officers on Eagan’s shift indicated, inter alia, that Eagan had displayed a poor attitude, was often defensive, angry, and
unwilling to accept feedback when sergeants and senior officers attempted to counsel him, often lost his temper, displayed poor
interpersonal and nonverbal skills, is not a team player, made a few questionable arrests, is not a well-rounded officer, and is overly
aggressive and concerned with quantity over quality. (Def.’s 56. [(a)(3) Statement, Ex. D.) Sticha had not had any communications
with the sergeants and senior officers regarding Eagan’s probationary performance prior to soliciting their written opinions,
Accepting as true Eagan’s contention that Sticha was irrationally aggravated with Eagan after the phone call Eagan made to Sticha
ask about a department policy, Eagan has nonetheless fallen far short of establishing that this alleged “ill-will” was the sole cause
of Sticha’s recommendation to the Board. In light of the severity of Eagan’s negative reviews, Eagan has failed to establish that
Sticha and the Village would not have taken the complained-of action anyway, without Sticha’s alleged animus.

As to the Board and its members, this court finds that it need not discuss whether the Board’s actions fall within the judicial
immunity protection because this court finds a complete lack of evidence in the record that the Board deliberately sought to deprive
Eagan of equal protection for reasons of a personal nature, unrelated to the duties of Eagan’s position. From the time Eagan was
hired until he was terminated, the only Board member who had any contact with Eagan was Robert Kovanda, and his only
interaction was attending Eagan’s praduation from the Chicago Police Academy to show support. Also, from the time Eagan was
hired until he was terminated, no Board members ever had any verbal interaction with anyone about Eagan. Eagan offers evidence
that the Board, as a matter of practice, sanctions the decision of the police chief with respect to a probationary officer’s employment
status and that Sticha influenced the Board's decision in various ways. In addition, Eagan contends that the Board failed to inquire
into Eagan’s formal written evaluations and took no steps to determine whether Eagan had been fairly and honestly evaluated.
There is no evidence that the Board had any connection to Eagan or any reason to believe there were any personal motives behind
Sticha’s, or the sergeants and senior officers’ representations. The fact that the Board relied on Sticha’s, the sergeants’ and senior
officers’ representations about Eagan without independent evaluation does not support Eagan’s position that the Board harbored
ill-will or illegitimate animus towards Eagan, especially since there is no evidence in the record that the Board or its members have
treated similarly situated employees differently. Eagan presents some general evidence that at some point in time, it is not clear
when, certain probationary officers with unsatisfactory reviews were brought before the Board and they all resigned voluntarily
before the Board took any action. However, the record is completely void of any information as to who these officers were, when
they were probationary officers, what type of reviews they received, or any other details surrounding their voluntary resignations.
With this lack of evidence, this court cannot conciude that these unknown officers are prima facie identical to Eagan in aif relevant
respects.

For all the foregoing reasons, defendants’ motion for summary judgment is granted. This case is dismissed in its entirety.
